       Case 2:14-cr-00006-APG-GWF              Document 95        Filed 08/05/14      Page 1 of 1



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 5                                UNITED STATES DISTRICT COURT
 6                                        DISTRICT OF NEVADA
 7
 8   UNITED STATES OF AMERICA,                 )
                                               )
 9                      Plaintiff,             )                   Case No. 2:14-cr-00006-APG-GWF
                                               )
10   vs.                                       )                   ORDER
                                               )
11   JAMES I. “ASSI” JARIV, and NATHAN “NATI” )
     STOLIAR, aka NATAN STOLIAR,               )
12                                             )
                        Defendants.            )
13   __________________________________________)
14          This matter is before the Court on the Unopposed Motion to Extend Pretrial Motions
15   Deadline (#94) filed August 4, 2014. Upon review and consideration,
16          IT IS HEREBY ORDERED that the Unopposed Motion to Extend Pretrial Motions
17   Deadline (#94) is granted. The parties have up to and including September 5, 2014 within which
18   to file pretrial motions. If the matter is not resolved by September 5, 2014, the parties should file a
19   motion or stipulation for extension of the pretrial motions deadline and trial date.
20          DATED this 5th day of August, 2014.
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22                                                 ______________________________________
                                                   GEORGE FOLEY, JR.
23                                                 United States Magistrate Judge
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